                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF INDIANA
                          INDIANAPOLIS DIVISION

UNITED STATES OF AMERICA,                   )
                                            )
                         Plaintiff,         )
                                            )
                    v.                      )   No. 1:21-cr-00068-JPH-DML
                                            )
TIMOTHY MCKENNA,                            ) -01
                                            )
                         Defendant.         )

                                      ENTRY

      On June 9, 2021, the Court received a letter and motions from

Defendant, pro se, even though he continues to be represented by counsel.

The Clerk is DIRECTED to mail the letter and motions to Defendant's counsel

who, consistent with his professional obligations, shall review the letter and

motions decide what action, if any, should be taken regarding the issues

raised.

SO ORDERED.

Date: 6/11/2021



Distribution:

Harold Samuel Ansell
INDIANA FEDERAL COMMUNITY DEFENDERS
111 Monument Circle, Suite 3200
Indianapolis, IN 46204

Michelle Patricia Brady
UNITED STATES ATTORNEY'S OFFICE
michelle.brady@usdoj.gov
